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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11
        G & G CLOSED CIRCUIT                     Case No. CV 20-10996 WDK (JCx)
  12    EVENTS, LLC,

  13                Plaintiff,                   JUDGMENT

  14                  v.

  15    ADA ELISA BARRIOS, et al.,

  16                Defendants.

  17
  18         The Application of G & G Closed Circuit Events, LLC for the entry of
  19   Default Judgment as to defendants Ada Elisa Barrios, individually and d/b/a
  20   Familia Barrios Taco Grill, and Filomeno Barrios Hidalgo, individually and d/b/a
  21   Familia Barrios Taco Grill, having come before the Court, and the Court having
  22   found that the entry of a Default Judgment is appropriate,
  23         IT IS HEREBY ORDERED AND ADJUDGED:
  24         1. Judgment in this case is granted in favor of the plaintiff G & G Closed
  25   Circuit Events, LLC against defendants Ada Elisa Barrios, individually and d/b/a
  26   Familia Barrios Taco Grill, and Filomeno Barrios Hidalgo, individually and d/b/a
  27   Familia Barrios Taco Grill, as follows:
  28         (a)   defendants Ada Elisa Barrios, individually and d/b/a Familia Barrios
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   1   Taco Grill, and Filomeno Barrios Hidalgo, individually and d/b/a Familia Barrios
   2   Taco Grill, shall pay the plaintiff, G & G Closed Circuit Events, LLC, $1,500.00
   3   in total damages plus attorneys’ fees in the amount of $350.00 plus costs.
   4
   5         IT IS FURTHER ORDERED that the Plaintiff shall serve, by United States
   6   mail or by telefax or by email, copies of this Judgment on counsel for the
   7   defendants, or the pro se defendants in this matter.
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  10   Dated: November 30, 2021

  11                                    _____________________________________
  12                                    William Keller
  13                                    United States District Judge

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